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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                              Senior Judge Raymond P. Moore

Civil Action No. 18-cv-01060-RM-KLM

LAMBLAND, INC. d/b/a A-1 Organics, Inc., a Colorado corporation,

        Plaintiff,

v.

HEARTLAND BIOGAS, LLC, a Delaware limited liability company,

      Defendant.
______________________________________________________________________________

                                   ORDER
______________________________________________________________________________

        Before the Court is Plaintiff’s Forthwith Motion (ECF No. 397), seeking an order

dissolving the thirty-day automatic stay of execution provided for in Fed. R. Civ. P. 62(a) in

connection with the Court’s March 24, 2025, Judgment on Plaintiff’s Count II (ECF No. 395).

Plaintiff contends that without such an order, Defendant and its alter ego, EDF Renewables

Development, Inc. (“EDF”), are likely to dissipate assets needed to satisfy the Judgment.

        At the Court’s direction, Defendant filed an expedited Response to the Forthwith Motion.

(ECF No. 402.) Defendant contends that Rule 62(a) is inapplicable because the March 24, 2025,

Judgment is an interlocutory order and not an enforceable final judgment—that is, it did not

resolve all claims in this litigation (as Count I is still at issue) nor did the Court expressly

determine that there was no just reason for delay in entering judgment with respect to Count II.

See Fed. R. Civ. P. 54(b).

        The Court agrees with Defendant’s position. Further, the Court finds Plaintiff’s citation

to a handful of transactions and statement balances shown in Defendant’s banking records is
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insufficient to demonstrate that the assets needed to satisfy Plaintiff’s judgment are at substantial

risk of dissipation. 1 On the current record, Plaintiff has not demonstrated that unusual

circumstances warrant depriving EDF of an automatic stay so that it may decide how to proceed

following the Court’s Order piercing Defendant’s corporate veil and entering judgment on

Plaintiff’s Count II.

         However, the Court further finds sua sponte that there is no just reason for to delay

entering final judgment on Plaintiff’s Count II. This finding is based on the Court’s previous

determination that there appears to be no scenario in which the Tenth Circuit would need to

revisit any issues related to Count II as well as the Tenth Circuit’s determination that the jury’s

verdict with respect to Plaintiff’s diversion damages survived the appeal. (See ECF No. 395

at 4.)

         Accordingly, the Court directs the Clerk to ENTER FINAL JUDGMENT on Plaintiff’s

Count II pursuant to Fed. R. Civ. P. 54(b), and Plaintiff’s Forthwith Motion (ECF No. 397) is

DENIED WITHOUT PREJUDICE.

         DATED this 7th day of April, 2025.

                                                       BY THE COURT:



                                                       ____________________________________
                                                       RAYMOND P. MOORE
                                                       Senior United States District Judge




1
 In the context of addressing the Forthwith Motion, the Court declines to reach any discovery
disputes related to these records that are alluded to in the parties’ briefs.
                                                  2
